       Case 4:20-cv-05150-HSG Document 10 Filed 11/13/20 Page 1 of 1




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 5
                              UNITED STATES DISTRICT COURT
 6
                           NORTHERN DISTRICT OF CALIFORNIA
 7
 8   THERESA BROOKE, a married woman
     dealing with her sole and separate claim,       Case No: 4:20-cv-05150
 9
                           Plaintiff,                ORDER
10
11
     vs.
12
13   BEL ABRI NAPA LLC,

14                         Defendant.
15
            Upon Joint Motion and good cause shown,
16
            IT IS HEREBY ORDERED dismissing the above case; each party to bear their
17
     own fees and costs.
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19                           DATED this 13th day of November, 2020.
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                                                 Judge of the U.S District Court
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